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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

         v.                                                Criminal No. 04cr355-02 (CKK)
                                                              (Civil Action No. 12-1322)
 LIONEL STODDARD,

    Defendant.


                            MEMORANDUM OPINION & ORDER
                                    (May 8, 2015)

       Presently before the Court is Defendant Lionel Stoddard’s [859] Motion for Appointment

of Counsel on Rule 60(b) Motion. Stoddard’s request that the Court appoint him counsel was filed

alongside his Rule 60(b) Motion for Relief from Final Judgment, requesting that the Court

reconsider its [838] Order and accompanying [839] Memorandum Opinion denying Stoddard’s

Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255. The Court has

reviewed the instant motion and has determined that it shall DENY Stoddard’s [859] Motion for

Appointment of Counsel on Rule 60(b) Motion, both as to his request that the Court appoint him

counsel and as to his request for relief from the Court’s Order denying his § 2255 motion for the

foregoing reasons.

       In his § 2255 motion, Stoddard argued that the Court should set aside his conviction and

sentence because his trial and appellate counsel rendered him ineffective assistance by allegedly:

(1) failing to challenge the violation of his statutory and constitutional right to speedy trial; (2)

failing to raise double jeopardy challenges to the indictment prior to trial and failing to move to

dismiss based on this challenge, and for failing to raise this issue on appeal; (3) failing to raise a

Confrontation Clause challenge to certain evidence; and (4) failing to request an informant jury
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instruction at trial. The Court addressed each of Stoddard’s claims in its [839] Memorandum

Opinion and found each to be without merit. As such, the Court entered an [838] Order denying

Stoddard’s Motion to Vacate, Set Aside, or Correct Sentence in its entirety. As the Court noted in

its Memorandum Opinion, the Court also granted leave to file a letter written by Stoddard,

requesting that the Court help him find legal assistance. The Court construed this letter as a motion

to appoint counsel. However, the Court found that the interests of justice did not require that the

Court appoint Stoddard counsel and denied the request pursuant to 18 U.S.C. § 3006A(a)(2)(B).

See Memo. Op. (Nov. 24, 2014), at 23-24.

       Stoddard brings the instant motion pursuant to Federal Rule of Civil Procedure 60(b)(1)

and 60(b)(6). Rule 60(b) sets out the grounds on which the Court “may relieve a party . . . from a

final judgment, order, or proceeding.” Fed. R. Civ. P. 60(b). Rule 60(b)(1) provides that the Court

may relieve a party from a final judgment based on “mistake, inadvertence, surprise, or excusable

neglect,” and Rule 60(b)(6) provides for relief from a final judgment based on “any other reason

that justifies relief.” Id. at 60(b)(1) & (6). The party seeking relief under Rule 60(b) bears the

burden of showing that he or she is entitled to the relief. Norris v. Salazar, 277 F.R.D. 22, 25

(D.D.C. 2011). In addition, in exercising its discretion under Rule 60(b), the Court “must balance

the interest in justice with the interest in protecting the finality of judgments.” Summers v. Howard

Univ., 374 F.3d 1188, 1193 (D.C. Cir. 2004).

       In the instant motion, Stoddard attaches a letter that he indicates was sent to the Court by

him on January 28, 2013, after his § 2255 motion was fully briefed. See Def.’s Mot. for Appt. of

Counsel on R. 60(b) Mot. at 7, Ex. 1 (Stoddard Letter), ECF No. [859]. In the letter, Stoddard

indicates, “I would like to incorporate[] the arguments raised by my codefendants.” Id. The letter

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and the request to incorporate the codefendants’ arguments is not referenced in the Court’s

Memorandum Opinion. Stoddard now argues that the Court should reconsider its ruling denying

his § 2255 motion based on claims raised by his codefendants with whom Stoddard stood trial in

their § 2255 motions before this Court. 1 Def.’s Mot. for Appt. of Counsel on R. 60(b) Mot. at 4-

5. Specifically, Stoddard asserts “[t]hose arguments, as set forth in co-defendant [Miquel] Morrow

and [Carlos] Aguiar’s respective § 2255 motions, are certainly germane, relevant, and applicable

to the factual record which animates this case.” Id. at 5. Stoddard argues that “[t]he interests of

justice and fundamental fairness” require that the Court incorporate the arguments raised by

Morrow and Aguiar in their § 2255 into Stoddard’s § 2255 motion. 2 Id.

       The Court shall deny Stoddard’s request for two reasons. First, the Court has reviewed its

files and has not located a copy of the letter that Stoddard asserts was sent to the Court nor was the

letter filed on the docket. 3 As such, the letter was not properly before the Court at the time that it

made its ruling on Stoddard’s § 2255 motion. See LCvR 5.1(a) (“Except when requested by a

judge, correspondence shall not be directed by the parties or their attorneys to a judge, nor shall




       1
          The Court notes that the letter that Stoddard purportedly sent to the Court raises other
arguments. However, Stoddard only raises the issue of incorporating his codefendants’ arguments
in the instant motion as grounds for relief from the Court’s judgment. As such, the Court shall
only address this argument.
        2
          Stoddard was tried alongside five codefendants, Miquel Morrow, Carlos Aguiar, Bryan
Burwell, Aaron Perkins, and Malvin Palmer. In the instant motion, he only requests that the Court
incorporate the arguments raised by Morrow and Aquiar and not those raised by Burwell, Perkins,
and Palmer.
        3
          On two separate occasions the Court granted leave to file letters sent by Stoddard to the
Court and, as such, both were entered in ECF. See Letter (July 18, 2013), ECF No. [820]; Letter
(Mar. 27, 2014), ECF No. [824]. Generally, when letters are sent directly to chambers as opposed
to the Clerk’s Office, the Court either grants or denies leave to file and an entry appears on the
docket. Alternatively, the Court returns the letter to the sender.
                                                  3
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papers be left with or mailed to a judge for filing.”). Second, Stoddard’s request to incorporate the

arguments raised by Morrow and Aguiar in their § 2255 motions is moot because at this juncture,

the Court has issued Orders and accompanying Memorandum Opinions denying all of Morrow’s

and Aguiar’s claims. 4 See U.S. v. Miquel Morrow, No. 04cr355-01 (CKK), Order (Apr. 30, 2015),

ECF No. [910] & Memo. Op. (Apr. 30, 2015), ECF No. [911]; see also U.S. v. Carlos Aguiar, No.

04cr355-03 (CKK), Order (Feb. 12, 2015), ECF No. [862] & Memo. Op. (Feb. 12, 2015), ECF

No. [863]; id., Order (Feb. 27, 2015), ECF No. [868] & Memo. Op. (Feb. 27, 2015), ECF No.

[869]. Further, the Court notes that Aguiar in his § 2255 motion similarly sought to incorporate

the arguments raised by his codefendants in their § 2255 motions. The Court’s treatment of

Aguiar’s request is equally applicable to Stoddard. As the Court explained:

       The Court first notes that Aguiar had access to all of the pleadings filed by his
       codefendants by virtue of their placement on the public docket. Further, to the
       extent that Aguiar or any of his codefendants has requested copies of documents or
       transcripts, the Court has provided them. Further, based on the certificates of
       service on the government’s filings, the government sent copies of its oppositions
       to all of the § 2255 motions to each of the codefendants. These oppositions would
       certainly alert Aguiar to the issues being raised by his codefendants in their
       respective § 2255 motions. Finally, the Court has allowed Aguiar’s codefendants
       to supplement their § 2255 motions after they have been fully briefed but before
       the Court has issued its ruling; Aguiar has made no such request.

       Despite having information about his codefendant’s arguments available to him,
       Aguiar has not indicated in any way which arguments made by his codefendants
       are specifically applicable to him. Indeed, each codefendant was represented by
       different counsel and each codefendant was charged with a different combination
       of offenses. Accordingly, each claim for ineffective assistance of counsel is unique
       to each codefendant and his own counsel. Further, without full briefing, the Court
       is unable to determine whether any of the codefendants’ objections to their
       counsels’ decisions would be applicable to Aguiar because Aguiar’s counsel may


       4
         The Court notes that Aguiar has a Motion to Alter or Amend Judgment of Motion to
Vacate, Set Aside, or Correct Sentence, pending before the Court at this time. See U.S. v. Carlos
Aguiar, No. 04cr355-03 (CKK), Mot. to Alter or Amend. Judgment, ECF No. [875].
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       have employed a different strategy.

       In essence, Aguiar has attempted to shift the burden of determining what claims he
       might have, but did not raise with the Court. The Court cannot act as Aguiar’s
       advocate by sifting through his codefendants’ arguments to determine which claims
       raised by the codefendants might have been applicable to Aguiar without the benefit
       of having Aguiar raise them on his own behalf and explain their relevance as related
       to him. Nonetheless, the Court notes that it has already considered and denied the
       following ineffective assistance of counsel claims raised by Aguiar’s codefendants
       related to issues that may be broadly applicable to all codefendants: violations of
       the statutory and constitutional right to speedy trial; double jeopardy and
       multiplicity challenges to the indictment; Confrontation Clause challenges to
       certain evidence; informant jury instructions; theory-of-defense jury instruction;
       government misconduct; jury polling; and juror misconduct. See U.S. v. Bryan
       Burwell, No. 04cr355-05 (CKK), Memo. Op. (Jan. 15, 2015), at 8-23, 28-30, 32-
       43. ECF No. [854]; U.S. v. Lionel Stoddard, No. 04cr355-02 (CKK), Memo. Op.
       (Nov. 24, 2014), at 7-23, ECF No. [839]. As discussed, the Court shall not
       reconsider these claims on Aguiar’s behalf when he has not specifically raised
       them. To the extent that the Court grants relief to any of Aguiar’s codefendants on
       an issue that the Court finds to be applicable to all codefendants, the Court shall
       reconsider its ruling on this issue.


U.S. v. Carlos Aguiar, No. 04cr355-03 (CKK), Memo. Op. (Feb. 12, 2015), at 42-43. The Court

shall treat Stoddard’s request for relief in a similar manner. To the extent that the Court grants

relief to any of Stoddard’s codefendants on an issue that the Court finds to be applicable to all

codefendants, the Court shall reconsider its ruling on this issue. 5 However, at this time, the Court




       5
         The Court notes that it has denied all of Stoddard’s codefendants’ claims in their § 2255
motions with the exception of one claim raised by Burwell that is inapplicable to Stoddard.
Specifically, the Court has directed further briefing on the issue of whether Burwell’s trial counsel
was ineffective for failing to elicit testimony from one of Burwell’s witnesses at trial regarding
Burwell’s whereabouts on a specific date which Burwell claims would have provided an alibi for
him. See generally U.S. v. Bryan Burwell, No. 04cr355-05 (CKK), Memo. Op. (Jan. 15, 2015), at
43-46, ECF No. [854]; Memo. Op. (Mar. 12, 2015), at 4-8, ECF No. [873]. As such, absent the
Court’s ruling on motions for reconsideration filed by Stoddard’s codefendants, there are no
pending claims by any of Stoddard’s codefendants that would be applicable to Stoddard as a
grounds for relief.
                                                   5
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finds no basis to grant Stoddard’s request for relief from the Court’s Order denying his § 2255

motion. See generally Memo. Op. (Nov. 24, 2014) (setting forth the Court’s reasoning for denying

Stoddard’s § 2255 motion). Accordingly, the Court shall deny Stoddard’s request that the Court

set aside its final judgment in this matter.

         Finally, Stoddard requests that the Court appoint him counsel to represent him in this

matter. The Court has determined that a hearing or further briefing is not necessary and that

Stoddard has set forth no grounds upon which relief may plausibly be granted. As such, the Court

finds that the interests of justice do not require that the Court appoint Stoddard counsel in this

matter. Accordingly, his request for counsel is denied pursuant to 18 U.S.C. § 3006A(a)(2)(B).

       Accordingly, it is, this 8th day of May, 2015, hereby

       ORDERED that Defendant Lionel Stoddard’s [859] Motion for Appointment of Counsel

on Rule 60(b) Motion is DENIED, both as to his request that the Court appoint him counsel and

as to his request for relief from the Court’s [838] Order and accompanying [839] Memorandum

Opinion denying his § 2255 motion; and it is further

       ORDERED that the Clerk of the Court shall mail a copy of this Memorandum Opinion &

Order to Mr. Stoddard at his address of record.

       SO ORDERED.


                                                           /s/
                                                       COLLEEN KOLLAR-KOTELLY
                                                       UNITED STATES DISTRICT JUDGE




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